

People v Jake H. (2023 NY Slip Op 01849)





People v Jake H.


2023 NY Slip Op 01849


Decided on April 06, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 06, 2023

Before: Manzanet-Daniels, J.P., Kern, González, Scarpulla, Pitt-Burke, JJ. 


Ind. No. 2561/16 Appeal No. 17639 Case No. 2019-1384 

[*1]The People of the State of New York, Respondent,
vJake H., Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Heidi Bota of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Noah J. Chamoy of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Denis J. Boyle, J.), rendered September 6, 2018, convicting defendant, upon his plea of guilty, of assault in the second and third degrees, adjudicating him a youthful offender, and sentencing him to concurrent terms of five years, and three years' probation, respectively, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the mandatory surcharge and crime victim assistance fee, and otherwise affirmed.
Based on the People's consent, and pursuant to our own interest of justice powers, we vacate the surcharge and fee imposed at sentencing (see People v Chirinos,
190 AD3d 434 [1st Dept 2021]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 6, 2023








